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                           IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                             Case No. 4:14-cr-00002-02 KGB

MICHAEL DAVID MANIS                                                               DEFENDANT

                                             ORDER

       On February 10, 2015, the psychiatric report of defendant Michael David Manis was filed

under seal (Dkt. No. 35). Copies of the report were provided to counsel for the United States and

counsel for Mr. Manis. In this Court’s Order of February 13, 2015, counsel were directed to file

a motion for hearing regarding any issues in the report or to file a motion in opposition to the

report within 14 days from receipt of the report. No opposition to the psychiatric report has been

filed, and no hearing has been requested. Therefore, the conclusions stated in the report are

adopted as the conclusions and findings of the Court.

       It is so ordered this 25th day of February, 2015.



                                                     _________________________________
                                                     Kristine G. Baker
                                                     United States District Judge
